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  Attorney for Plaintiffs
  ME2 Productions, Inc., and
  Venice PI, LLC



                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAll

   ME2 Productions, Inc., and                  )   Case No.: 1:17-cv-00320-JMS-RLP
   Venice PI, LLC                              )   (Copyright)
                                               )
                        Plaintiffs,            )   STIPU LATE D CONS ENT
       vs.                                     )   JUDG MENT BETW EEN
                                               )   PLAIN TIFFS AND DEFEN DANT
   DRAGON MEDIA, INC. et al.                   )   JASON BARN HART d/b/a/ Drago n
                                               )   Box-H awaii Kai
                        Defendants.            )
                                               )
                                               )
                                               )
                                               )


            As attested to by the signatures of the Defendant and counsel for the Plaintiffs

   below, this matter comes before the Court on the parties ' joint stipulation.

            Plaintiffs ME2 PRODUCTIONS, LLC. and VENICE Pl, LLC (hereafter

   "Plaintiffs"), have filed a Complaint against Defendant JASON BARNHART d/b/a/


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 Dragon Box-Hawaii Kai (hereafter: "Defendant") of Honolulu, Hawaii among

 others.

        Plaintiffs complain and allege than Defendant induced infringement of their

 motion pictures Mechanic: Resurrection and Once Upon a Time in Venice in

  violation of U.S. copyrigh t law.

           The parties, after conferral and investigation, now appear, Defendant pro se

  and Plaintiffs through counsel to fully and finally resolve all claims between the

  parties and the matters before the Court and have moved for entry of this Stipulated

  Consent Judgment to effect the terms of their settlement.

             WHEREFORE IT IS HEREBY STIPULATED AND ORDERED for all

    matters relevant to this case between the parties as follows:

             1. This court has jurisdiction over the parties and venue is proper.

             2.   Plaintiffs have valid and enforceable copyrights in the original

    copyrighted works as identified in the Fourth Amended Complaint [Doc. # 79).

             3. Defendant denies liability. However, Defendant concedes that he held

    himself out to the public as a licensed reseller of streaming devices made by

    Defendant Dragon Media, Inc. and sold said streaming devices to the public.

             4.   Pursuant to the settlement agreement of the parties, the below

     Permanent Injunction is to be entered against Defendant JASON BARNH ART.
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                            PERMANENT INJUNCTION

         Defendant is hereby PERMANENTLY ENJOINED from directly,

  contributorily or indirectly infringing Plaintiffs' rights in their motion pictures,

  including without limitation by using the Internet to reproduce or copy any of

  Plaintiffs' motion pictures, except pursuant to a lawful written license from

  Plaintiffs;

         Defendant is ORDERED to refrain from directly or indirectly selling any of

  said streaming devices made by Defendant Dragon Media, Inc. including but not

   limited to the Dragon Box DB4 and the Dragon Box DB5 until notified by

  Plaintiffs' counsel that a software modification has been performed to said

   streaming devices; and

         Defendant is ORDERED to refrain from knowingly and willfully using the

   Internet for copying, downloading content or inducing streaming of content in

   violation of U.S. copyright law.

         Except as provided herein, each party is to bear their own costs and fees.

   With entry of this Consent Judgment, this matter is terminated with respect to

   Defendant JASON BARNHART d/b/a/ Dragon Box-Hawaii Kai with prejudice.




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            APPROVED AND SO ORDERED.
            DATED: Honolulu, Hawaii, June 29, 2018.




                                         /s/ J. Michael Seabright
                                        J. Michael Seabright
                                        Chief United States District Judge




  So Stipulated and Respectfully Submitted:



  On Behalf of Plaintiffs                           Defendant pro se



  /s/ Kerry S. Culpepper
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